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 5
                           UNITED STATES DISTRICT COURT
 6                        WESTERN DISTRICT OF WASHINGTON
                                    AT SEATTLE
 7
     PEARL THOMAS,
 8                                                      No.
                                    Plaintiff,
 9                                                      COMPLAINT FOR DAMAGES
            v.
10                                                      JURY DEMAND
     AMAZON.COM, INC., AMAZON WEB
11   SERVICES, INC., and KEITH DURJAVA,
     in his individual and professional capacities,
12
                                   Defendants.
13

14          Plaintiff Pearl Thomas (“Plaintiff” or “Ms. Thomas”), by and through her undersigned

15   counsel, Wigdor LLP, as and for the Complaint in this action against Defendants Amazon.com,

16   Inc. (“Amazon.com”), Amazon Web Services, Inc. (“AWS”) (together “Amazon” or the

17   “Company”), and Keith DurJava, in his individual and professional capacities (“Mr. DurJava”)

18   (collectively, “Defendants”), hereby states and alleges as follows:

19                                 PRELIMINARY STATEMENT

20          1.      When a company’s Human Resources (“HR”) organization’s top priority

21   appears to be the protection of managers from the consequences of their alleged discriminatory

22   conduct, no matter how despicable, it is hard to see how that HR department will ever improve

23   the workplace. If HR aids and abets retaliation and covering up employee allegations of serious

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 1   racial harassment, managers who are inclined towards such conduct naturally will be

 2   emboldened.

 3          2.      When Pearl Thomas joined Amazon as a Human Resources Partner, she had no

 4   idea that, after less than a year with the Company, she would encounter some of the worst

 5   abuse and displays of racial discrimination that she has encountered in her life and decades-

 6   long career in HR.

 7          3.      Pearl Thomas was working in a job she enjoyed when Amazon approached her

 8   in June 2020 about joining its Human Resources (“HR”) organization.

 9          4.      Ms. Thomas had heard negative things about Amazon as a place to work for

10   Black people. After she was assured that things would turn out fine, she took the leap due to

11   Amazon’s reputation as one of the 21st Century’s budding corporate titans and her hope that,

12   through hard work and demonstrating her value, she could overcome any obstacles posed by

13   general systemic biases.

14          5.      Ms. Thomas got along well with her first manager, and she stayed true to her

15   convictions by being outspoken on the needs of Black employees and raising concerns about

16   insensitive terminology where necessary. All in all, during her first six months at Amazon,

17   Ms. Thomas felt that she could make a career at the Company.

18          6.      Ms. Thomas is a Black woman over the age of 60, and new managers assigned

19   to her in early 2021 have treated her with discriminatory contempt and heavy retaliation based

20   upon her prompt complaints in response to this treatment.

21          7.      In addition, Ms. Thomas has been personally impacted by the Company’s

22   widespread practice of hiring Black and female employees into job levels lower than those for

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 1   which they are qualified or which would, in fact, align with their actual job duties upon coming

 2   to work at Amazon.

 3          8.      Ms. Thomas was actively recruited to join Amazon from an employer where

 4   she had a secure, successful position and career. In almost a year at Amazon, Ms. Thomas has

 5   worked on a wide range of HR functions and successfully handled many sensitive situations

 6   while also helping to launch several initiatives.

 7          9.      Despite her impressive background, outgoing personality, and demonstrated

 8   skillset, new managers recently assigned to Ms. Thomas have treated her with undisguised

 9   contempt, insults, and hostility.      When she sought help from HR, the Company’s

10   representatives dismissed her concerns and turned them around to accuse her of acting

11   improperly.

12          10.     In January 2021, Ms. Thomas was informed that she was being reassigned to a

13   new team—the Builder Experience Team (“BeXT”)—under Keith DurJava (HR Manager,

14   BeXT Service Delivery). In Mr. DurJava, she suddenly faced hostility, hate, and retaliatory

15   fury that she had never before experienced as a Black woman in the workplace.

16          11.     Shortly after she made legally protected complaints about racially hostile

17   conduct by Mr. DurJava and another manager, Ms. Thomas was placed in the Company’s

18   Focus performance improvement process, which is commonly known as part of the process

19   used to exit troublesome employees from Amazon.

20          12.     This move by Mr. DurJava was transparent retaliation and happened only one

21   week after Ms. Thomas’s formal transition from the Serverless Application Model (“SAM”)

22   team to BeXT in the Machine Learning division.

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 1          13.     This blatant retaliation also came just two weeks after Ms. Thomas informed

 2   HR employee Aarean Wooten that Mr. DurJava had uttered the phrase “damn nigger” before

 3   they had both ended a Chime video meeting on or around March 26, 2021.

 4          14.     Ms. Thomas heard Mr. DurJava use this slur clear as a bell; it was unmistakable,

 5   and she had an immediate, sickened reaction at his egregious statement. It made her feel, in

 6   her words, “broken.”

 7          15.     Sadly, Ms. Thomas knows exactly what it sounds like to have the most hateful

 8   word in the English language hurled at her, as one day while standing outside her home, a

 9   white man driving by yelled “Black lives matter, nigger!” at her out his car window. Never

10   did she think she would hear it at work.

11          16.     In other meetings, Ms. Thomas and another Black female employee were told

12   by an Amazon General Manager that “You don’t want to be an angry Black woman.”

13          17.     When Ms. Thomas complained to HR about the discriminatory treatment to

14   which she was subjected, an HR employee insultingly said, “I know there’s a lot going on

15   right now with Black Lives Matter and that’s probably impacting you emotionally.”

16          18.     Across her decades-long career, Ms. Thomas has never experienced stress like

17   she had at Amazon during the first half of 2021, and she needed to seek medical treatment and

18   therapy for her work-related stress.

19          19.     Extraordinarily, the HR person—who Ms. Thomas told about the incident with

20   Mr. DurJava a few days later on or around April 1, 2021—reacted by saying that she was sure

21   Mr. DurJava did not know Ms. Thomas was still on the Chime when he said what he had said.

22          20.     This total lack of responsiveness and action by “HR for HR” was only the

23   exclamation point on a pattern that Ms. Thomas has observed on the part of some members of

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 1   HR at Amazon during her tenure. Her position in the Company’s HR organization has given

 2   her a prime vantagepoint regarding both systemic discrimination and conscious animus

 3   towards Black employees at Amazon, along with the Company’s practices regarding diversity,

 4   employee complaints, and the use of performance management to retaliate against Black and

 5   other employees who raise concerns. Ms. Thomas also has been approached by several

 6   colleagues who have affirmed her experiences, the fact that such conduct is racially

 7   discriminatory, and that the Company is generally indifferent to or hostile towards employees’

 8   reports.

 9              21.      Amazon has an opportunity to sincerely examine its policies and practices and

10   enact meaningful change, as Institutional Shareholder Services, a proxy firm, is recommending

11   that Amazon investors vote in favor of an independent racial audit. The vote is set for May

12   26, 2021 at the Company’s annual shareholder meeting.                          Amazon, however, is asking

13   shareholders to reject the audit. See https://www.seattletimes.com/business/amazon-investors-

14   urged-by-proxy-firm-to-vote-in-favor-of-racial-audit/ (last accessed May 18, 2021).

15              22.      Defendants’ conduct violated Section 1981 of the Civil Rights Act of 1866, 42

16   U.S.C. § 1981 (“Section 1981”), and the Washington Law Against Discrimination, Wash. Rev.

17   Code § 49.60.010, et seq. (“WLAD”).1

18

19

20

21   1
                 This case, filed by Pearl Thomas, is being filed simultaneously with the cases of other female employees
         similarly subjected to unlawful discrimination, bias and retaliation at Amazon: Diana Cuervo v. Amazon, et al.
22       (U.S. District Court, Western District of Washington) (race, national origin, gender discrimination and
         retaliation);Tiffany Gordwin v. Amazon, et al. (U.S. District Court, District of Arizona) (race, gender
         discrimination and retaliation); Emily Sousa v. Amazon, et al. (U.S. District Court, District of Delaware) (race,
23       national origin, gender discrimination and retaliation); and Cindy Warner v. Amazon, et al. (U.S. District Court,
         Central District of California) (gender discrimination and retaliation).
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 1                             ADMINISTRATIVE PREREQUISITES

 2           23.     Ms. Thomas will file a charge of discrimination with the U.S. Equal

 3   Employment Opportunity Commission (“EEOC”) alleging violations of Title VII of the Civil

 4   Rights Act of 1964, 42 U.S.C. §§ 2000e, et seq. (“Title VII”).

 5           24.     Upon the EEOC’s completion of its investigation into Ms. Thomas’s charge of

 6   discrimination and/or its issuance of a Notice of Right to Sue, Plaintiff will seek leave to amend

 7   this Complaint to add Title VII claims against Amazon.

 8           25.     Any and all other prerequisites to the filing of this suit have been met.

 9                                    JURISDICTION AND VENUE

10           26.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1331 and

11   1343, as this action involves federal questions regarding the deprivation of Plaintiff’s rights

12   under Section 1981. The Court has supplemental jurisdiction over Plaintiff’s related claims

13   arising under state and/or local law pursuant to 28 U.S.C. § 1367(a).

14           27.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) as a substantial

15   part of the events or omissions giving rise to this action, including the unlawful employment

16   practices alleged herein, occurred in this district.

17                                               PARTIES

18           28.     Plaintiff Pearl Thomas is a resident of the State of Washington and a current

19   employee of Amazon. At all relevant times, Plaintiff met the definition of an “employee”

20   under all applicable statutes.

21           29.     Defendant Amazon.com, Inc. is a Delaware-registered domestic corporation

22   with operations in the State of Washington. At all relevant times, Defendant Amazon.com,

23   Inc. met the definition of “employer” under all applicable statutes.

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 1           30.    Defendant Amazon Web Services, Inc. is a Delaware-registered domestic

 2   corporation with operations in the State of Washington. At all relevant times, Defendant

 3   Amazon Web Services, Inc. met the definition of an “employer” under all applicable statutes.

 4           31.    Defendant Keith DurJava is, upon information and belief, a resident of

 5   Washington and currently works for Amazon, where he supervised Ms. Thomas during her

 6   employment at the Company and controlled the terms and conditions of her employment. At

 7   all relevant times, Defendant DurJava met the definition of an “employer” under all applicable

 8   statutes.

 9                                   FACTUAL ALLEGATIONS

10   I.      MS. THOMAS WAS RECRUITED TO AMAZON FROM A SECURE, WELL-
             PAID POSITION AMID A SUCCESSFUL CAREER IN HR MANAGEMENT
11
             32.    Ms. Thomas is a Black woman in her mid-60s and was working as a Senior HR
12
     Business Partner for Wireless Advocates when she was recruited by Amazon to work in
13
     AWS’s HR support functions in June 2020.
14
             33.    Before accepting a job offer from Amazon, Ms. Thomas had worked as an HR
15
     professional for over 15 years (mostly in senior-level positions), with well over 20 years in the
16
     HR field generally. She previously worked at Microsoft as an HR Business Partner for several
17
     years, where her areas of responsibility included, inter alia, implementing training and
18
     performance feedback programs, promoting diversity, leading employee relations
19
     investigations, and training managers.
20
             34.    Ms. Thomas also worked for several years in positions in which she oversaw
21
     the full recruitment process for employees, implemented executive bonus programs, and served
22
     for two years as an HR Director with 12 direct reports, overseeing all of her employer’s HR
23
     functions.
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 1             35.   Other notable aspects of Ms. Thomas’s varied experience and professional

 2   background include being a former Miss Black Washington (1984), the Second Runner-Up for

 3   Miss Black America (1985), and hosting and producing local television shows in the Seattle

 4   area (Action Inner City and Pearl’s Place—both of which were public affairs, local lifestyle,

 5   and reviews shows).

 6             36.   In order to join Amazon, Ms. Thomas had far more interviews than the typical

 7   Amazon candidate is put through.

 8             37.   She had strong reservations about coming to Amazon due to its reputation as an

 9   organization where Black employees and other persons of color find it hard to succeed.

10             38.   She was swayed by the reassurances of the recruiter and Amazon employees,

11   who assured her that concerns about the culture and an uneven playing field at Amazon were

12   untrue.

13             39.   However, she was hired at Level 5 as a Human Resources Partner by Amazon

14   despite the fact that her job experience (and eventual performance and duties) was more in line

15   with Level 6 and arguably even Level 7, particularly given her years of experience, including

16   in HR functions with technology firms.

17             40.   Indeed, once Ms. Thomas began work at Amazon, as a result of her experience

18   and skill set, she quickly found herself working directly with Level 8 employees (such as

19   General Managers and Vice Presidents) and doing work performed by HR employees higher

20   than Level 5 (which would also come with higher compensation).

21             41.   Ms. Thomas left a job paying up to $140,000 a year to work at Amazon, where

22   her first year’s compensation (including her equity, which has not yet fully vested) will total

23   around $110,000.

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 1           42.    However, she took the leap after being led to believe that, once she began work

 2   at Amazon, she could quickly move up and regain her previous level of compensation and then

 3   some once she was elevated to a job level commensurate with her experience.

 4   II.     MS. THOMAS IS TRANSFERRED AND HER NEW MANAGERS SUBJECT
             HER TO ABUSIVE DISPARATE TREATMENT AND A HATEFUL
 5           EPITHET, DEMONSTRATING RACIAL AND RETALIATORY ANIMUS

 6           43.    Over the course of 2020, Ms. Thomas was outspoken on issues concerning the

 7   Company’s Equal Employment Opportunity (“EEO”) and diversity policies and practices,

 8   advocating for the needs of Black employees and identifying the Company’s deficiencies in its

 9   Inclusion, Diversity and Equity (“IDE”) measures.

10           44.    Further, in an HR all-hands meeting in or around September 2020, the phrase

11   “monkey in the middle” was used in a context that was problematic, and Ms. Thomas

12   immediately noted this to her manager at the time. The employee involved issued an apology

13   a couple of days later.

14           45.    At other times, in meetings with various members of Leadership present, the

15   statement that, “You don’t want to be an angry Black woman,” was used insensitively. In

16   one instance, Ms. Thomas and another Black female employee were cautioned by a General

17   Manager that they needed to be mindful of their tone in order to avoid being perceived as an

18   “angry Black woman.”

19           46.    Ms. Thomas believed that the organization, while far from perfect, could be one

20   where she would make headway and she enjoyed working with her manager and teammates in

21   the Serverless Application Model (“SAM”) Organization and IoT (Internet of Things).

22           47.    On or around January 5, 2021, Ms. Thomas was transferred in Amazon’s system

23   to BeXT. However, she and the entire WJV Organization (Bill Vass’s org within SAM) team

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 1   were told by HR Director Almudena Capell that all of her reporting and job functions would

 2   remain the same through the end of the first fiscal quarter and that she would only make the

 3   functional transfer to BeXT on or around April 5, 2021.

 4           48.   In or around February 2021, Ms. Thomas began working with Stephanie

 5   Downey, a Senior HR Business Partner, in connection with Ms. Downey’s transition onto and

 6   Ms. Thomas’s transfer off of the IoT team. From the start, Ms. Downey took a condescending,

 7   confrontational approach with Ms. Thomas, talking down to her and making embarrassing

 8   comments to and about Ms. Thomas on Leadership calls.

 9           49.   By way of example, Ms. Downey stated, “Well, I know you’re not very good

10   at this,” and “Well, you do know how to do this?” in an outwardly unpleasant and insulting

11   tone.

12           50.   On or around February 8, 2021, Ms. Downey said to Ms. Thomas, without any

13   prompting, “I know there’s a lot going on right now with Black Lives Matter and that’s

14   probably impacting you emotionally.”

15           51.   This comment, combined with Ms. Downey’s consistent hostility (speaking to

16   Ms. Thomas in a stereotypically superior, skeptical manner) confirmed that Ms. Downey’s

17   conduct was racially charged and driven by bias and prejudice.

18           52.   Another employee stated that they had experienced the same type of racially

19   charged treatment and “vibes” from Ms. Downey.

20           53.   Ms. Thomas complained to Mr. DurJava about Ms. Downey’s offensive

21   conduct and disparate treatment.

22           54.   Rather than assisting her in resolving this situation, Mr. DurJava told Ms.

23   Thomas to talk with Ms. Downey about it herself, and stated: “Don’t worry about her, you only

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 1   need to put up with her for two more weeks. But you need to reach out to her to let her know

 2   how you feel.”

 3          55.       Ms. Thomas, as directed, told Ms. Downey that she felt that her manner was

 4   racially charged and motivated. Ms. Downey acted shocked and perturbed, saying “I can’t

 5   believe you’d say that. I feel that I have to walk around on eggshells around you.”

 6          56.       Ms. Downey’s reaction confirmed that her poor treatment of Ms. Thomas

 7   derived from a perception of her as easily upset or offended and prone to playing a so-called

 8   “race card.”

 9          57.       Another Black employee stated that she had been told to “watch out for

10   Stephanie [Downey],” and told Ms. Thomas she had personally been subjected to racially

11   disparate treatment by Ms. Downey.

12          58.       Ms. Thomas advised Mr. DurJava that another employee had reported similar

13   interactions with Ms. Downey. Mr. DurJava, without Ms. Thomas’s knowledge or consent,

14   contacted HR (specifically, the “HR for HR” group) to discuss her concerns, but did nothing

15   about what she had reported regarding the other employee’s experiences with Ms. Downey

16   (i.e., the person who told Ms. Thomas to “watch out”).

17          59.       Mr. DurJava’s unwillingness to remedy this clearly (at a minimum)

18   inappropriate conduct by Ms. Downey was in keeping with his general disregard for Ms.

19   Thomas.

20          60.       From the beginning of their working relationship, Mr. DurJava went to great

21   lengths to avoid interacting with Ms. Thomas, failing to respond to several messages sent via

22   email/Chime and other requests for 1:1 meetings with him.

23

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 1          61.     Indeed, Ms. Thomas immediately sensed Mr. DurJava’s strong aversion to her

 2   on the few occasions when she was able to get “face time” with him.

 3          62.     During the 20-minute meetings that did take place between Ms. Thomas and

 4   Mr. DurJava, he did not have any significant negative feedback from others or say anything

 5   regarding a purported failure by Ms. Thomas to meet performance expectations.

 6          63.     On or around March 26, 2021, Ms. Thomas participated in a transition meeting

 7   via video call with Mr. DurJava and Ms. Downey, including discussing a document called the

 8   “Return to Work Manager Checklist.” Both Ms. Downey and Mr. DurJava tore into and

 9   aggressively cross-examined Ms. Thomas throughout the meeting, with Mr. DurJava acting

10   peevish and brusquely asking questions in rapid succession such as, inter alia, “What is the

11   purpose of this meeting?” and “What is your expected outcome?”

12          64.     Ms. Thomas believed that her very purpose at the organization was being

13   aggressively called into question without justification and that she was being treated like an

14   enemy rather than a colleague. Each line of the document that they reviewed triggered a fresh

15   confrontation. It felt strongly as though Ms. Downey and Mr. DurJava were actively seeking

16   items on which to criticize and find fault with Ms. Thomas.

17          65.     As the meeting ended, Ms. Thomas did immediately hang up, and Mr. DurJava

18   angrily grumbled, “Damn nigger,” before his own audio cut off and he hung up.

19          66.     Ms. Thomas had an instant visceral reaction, in the literal sense. She felt sick

20   to her stomach and fell out of her chair onto her knees. Her guts were so queasy that she took

21   something to settle her stomach. She said to herself out loud, “God help me.”

22          67.     Ms. Thomas found it hard to wrap her mind around how such hate could exist

23   in anyone she works with, and in the corporate ranks of a company like Amazon, no less. She

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 1   felt hit, harmed, afraid, degraded, alone and abandoned, and simply thunderstruck to have

 2   heard this word in reality and on a work call.

 3           68.     Ms. Thomas had only once before heard that word in person used in such a

 4   deliberately hateful way. To be clear, this was not Mr. DurJava using the term “nigga” in a

 5   put-on hip hop patois or some such usage (which would still be completely unacceptable); this

 6   was the word with a hard “r” at the end and she heard it as clearly as any other word he had

 7   said on the call that day.

 8           69.     The “n-word” has no equal in the English language for its capability to de-

 9   humanize and verbally spit upon a Black person. No other slur affects any other group in the

10   same way, to the same degree. No other word has the same centuries-long history as an

11   instrument of hate and oppression. It is unique in its power.

12           70.     Following this incident, Ms. Thomas thought that if her new supervisor thought

13   of her this way, her fate at the Company must be sealed—she felt doomed.

14           71.     She also felt betrayed and foolish, as she had all along been facilitating

15   inclusion town halls, HR Self-care All-hands and campaigns for the recruiting department for

16   this Company and her team.

17           72.     After Mr. DurJava’s derisive and sneering use of the “n-word,” Ms. Thomas’s

18   thoughts raced. She immediately called her doctor’s office to make an appointment and seek

19   counseling with a new therapist. Ms. Thomas told her therapists and doctor about the precise

20   details of what Mr. DurJava has done and said.

21           73.     A few days later, on April 1, 2021, Ms. Thomas talked with Aarean Wooten.

22   Ms. Thomas squarely told Ms. Wooten about Mr. DurJava’s blatant use of the word “nigger,”

23   referring to her during a work meeting. Ms. Wooten unhelpfully told Ms. Thomas that Mr.

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 1   DurJava “must not have known you were still on the phone.” Incredibly, Ms. Wooten entirely

 2   ignored the virulent animus that would motivate a person to use that language in any context

 3   and glossed over Mr. DurJava’s inexcusable behavior.

 4           74.     Then, although Ms. Wooten was supposed to be acting as “HR for HR,” she

 5   began to question Ms. Thomas as though she were suddenly an enormous threat. In an internal

 6   email, Ms. Thomas described Ms. Wooten’s approach as: “harsh, insensitive and you

 7   interrogated me, questioning me as if I was a criminal.”

 8           75.     Among other things, Ms. Wooten told Ms. Thomas that, “First you complained

 9   about Stephanie, now you’re complaining about Keith—it’s starting to look like you can’t get

10   along with anyone.” This statement also demonstrates very strong retaliatory animus against

11   employees who report discriminatory conduct and was factually absurd as well—Ms. Thomas

12   has worked with dozens if not hundreds of people at Amazon and has forged many close

13   relationships even during her relatively short time at the Company.

14           76.     Ms. Thomas was shocked by this hostile reaction to what she had reported,

15   especially from someone whose entire function was, supposedly, to support employees in

16   situations like this one.

17           77.     Ms. Thomas tried to stop Ms. Wooten’s efforts to confuse the issue or dissuade

18   her from pressing the issue, saying, “I’m not the person on trial, my name is not Derek

19   Chauvin.” Ms. Wooten later used this statement against Ms. Thomas, offensively suggesting

20   that Ms. Thomas was simply upset by current events.

21           78.     Ms. Wooten also gave the totally inadequate “advice” that Ms. Thomas should

22   try to “keep her head down,” do her work, and follow Mr. DurJava’s directives. Ms. Thomas

23   understandably reacted by confirming what she had advised and saying that she had to “do

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 1   what the massah says” (particularly understandable in light of the fact that she had just told

 2   Ms. Wooten that this supervisor had used the n-word).

 3          79.     Ms. Wooten later threw this statement back against Ms. Thomas as well. Ms.

 4   Wooten’s impulses to downplay Ms. Thomas’s complaints of racial bias and weaponize her

 5   own statements against her are consistent with the retaliatory animus and acts of Mr. DurJava,

 6   Ms. Downey, and various other members of Amazon management.

 7          80.     During her conversation with Ms. Wooten, Ms. Thomas’s breathing became

 8   labored, and she was manifestly in distress and began to experience chest pain. Ms. Thomas

 9   advised Ms. Wooten of what was happening (though it should have been obvious as she was

10   breathing very heavily with chest rising dramatically and had her hand on her chest). Yet, Ms.

11   Wooten continued the call.

12          81.     Again, Ms. Wooten later tried to turn this around on Ms. Thomas, saying that

13   she stayed on because Ms. Thomas supposedly had kept talking (as though she is incapable of

14   ending a call or interview with an employee who clearly needs a break or even emergency

15   medical assistance).

16          82.     The great emotional and even medical impact displayed by Ms. Thomas is

17   borne out by Ms. Wooten’s April 2, 2021 email to Ms. Thomas, in which she wrote “I

18   understand this is a difficult time with everything going on externally in the media, so

19   please explore the resources below if needed,” and included links to the Company’s

20   Employee Assistance Program (“EAP”) and leave options.

21          83.     Again, Ms. Wooten deflected and disgustingly blamed Ms. Thomas’s distress

22   on the Chauvin trial and other events in the news. Ms. Wooten’s trivialization of Ms. Thomas’s

23

24
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 1   report of blatant racial harassment is a textbook example of gaslighting, and is a complete and

 2   total dereliction of the Company’s duty to its employees.

 3          84.     Unsurprisingly in light of Ms. Wooten’s earlier conduct, it took only a few days

 4   for her to tell Ms. Thomas on April 6, 2021 that her reports of racially discriminatory conduct

 5   had been found to be unsubstantiated.

 6          85.     Somehow, Ms. Wooten’s “investigation” was completed without requesting

 7   any further information from Ms. Thomas after other individuals were interviewed (if, that is,

 8   anyone was subject to true investigatory interviews).

 9          86.     Ms. Thomas also went to Senior Manager Jim Handorf for help, and at one

10   point in late March 2021, Mr. Handorf advised Ms. Thomas to try to bond with Mr. DurJava

11   and talk with him since “his job is to teach you and train you.” On April 1, 2021 Ms. Thomas

12   tried humor, and said on a call with Mr. DurJava, “Hey, I’m pregnant.” Mr. DurJava’s instant,

13   flat response: “Well, that’s impossible.”

14          87.     As a result of this unlawful discriminatory and retaliatory treatment, which

15   clearly was geared towards forcing her out of her job, Ms. Thomas has sought treatment from

16   a therapist, her physician, and received a new prescription for anti-anxiety medication.

17   III.   MANAGEMENT RATCHETS UP THE PRESSURE ON MS. THOMAS,
            SENDING FALSE EMAILS TO MISCHARACTERIZE DISCUSSIONS, AND
18          ANNOUNCING THAT MS. THOMAS IS IN THE “FOCUS” PERFORMANCE
            PROGRAM DAYS AFTER SHE REPORTED MR. DURJAVA’S
19          REPUGNANT RACIAL CONDUCT

20          88.     Amazon and Mr. DurJava have continued through the date of this Complaint to

21   increase the pressure and heat on her (including throughout Friday, May 7, 2021, peppering

22   her with emails about supposed deficiencies that were easily refuted, demonstrating their

23   pretextual nature) in a bid to get her to leave the Company.

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 1            89.   The retaliatory intent behind Mr. DurJava’s critical, micromanaging emails was

 2   clear, as the rate of his emails to Ms. Thomas increased in frequency and urgency in the hours

 3   after she declined the Company’s unsolicited offer for her to take paid administrative leave.

 4            90.   Ms. Thomas has discussed the Company’s long and well-documented history

 5   of discrimination against Black employees with several other Amazon employees, both current

 6   and former. By way of example only, one white employee outright told Ms. Thomas that

 7   “Keith is treating you this way because you are Black.”

 8            91.   Another example of disparate treatment (which echoed concerns of other Black

 9   employees) occurred when a coworker stated that Black employees who do well at Amazon

10   generally find that they are not well thought of by the upper ranks.

11            92.   Ms. Thomas’s colleagues, including Black coworkers, also have confirmed the

12   Company’s use of performance management plans to exit employees who are seen as

13   troublesome, as well as the disproportionate use of low performance ratings against persons of

14   color.

15            93.   Employees who complain about disparate treatment, such as being spoken to

16   condescendingly, are often managed out of the Company using the Focus/Pivot “performance

17   management” process. Through her extensive HR background, in addition to guidance

18   received at Amazon itself, Ms. Thomas is personally aware of the common gambit of making

19   performance improvement goals vague or unattainable enough so that an employee can be

20   exited at the end of the Focus process, regardless of the employee’s actual performance.

21            94.   Sure enough, Ms. Thomas has become the target of this modus operandi.

22            95.   On or around April 15, 2021, Mr. DurJava (whose transition to becoming Ms.

23   Thomas’s supervisor was completed only on April 5, 2021) told Ms. Thomas that she had been

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 1   placed on “Focus” performance improvement status. This meant that she was now effectively

 2   prohibited from transferring away from Mr. DurJava (without express approval by a Vice

 3   President, who almost certainly would talk with Mr. DurJava about it), and her prospects at the

 4   Company were severely compromised, as Focus also affects eligibility for promotion, among

 5   other terms and conditions of employment.

 6          96.     Indeed, Mr. DurJava told Ms. Thomas that he could not support her transfer to

 7   a new team (further showing his desire to get her out of the Company altogether). Ms. Thomas

 8   told Mr. DurJava that she felt she might need to seek outside assistance in dealing with her

 9   situation at the Company. Mr. DurJava abruptly responded, “I have to go,” and hung up.

10          97.     After this, Ms. Thomas swiftly received an email from Ms. Wooten, saying she

11   had heard that Ms. Thomas might seek outside help (careful to say she was free to do that) and

12   checking in to see if she had any concerns that had not been addressed. Needless to say, Ms.

13   Thomas did indeed have many concerns that had gone unaddressed, but Ms. Wooten had more

14   than proven herself to be a dead end in remedying the discrimination against Ms. Thomas.

15          98.     Shockingly, Mr. DurJava had placed Ms. Thomas in Focus after working with

16   her for barely three months (and barely a week after becoming her supervisor formally), and

17   without the usual counseling steps or performance ratings (such as rating someone “Least

18   Effective”) that HR employees in particular are expected to observe or use before placing an

19   employee in Focus.

20          99.     Mr. DurJava’s placement of Ms. Thomas in the Focus program meant that both

21   of his two Black direct reports at that time (Ms. Thomas and Andrew Henry-kennon) were on

22   performance improvement plans (“PIPs”). Neither of Mr. DurJava’s two white reports were

23   on PIPs. Due to the lack of any satisfactory action by Ms. Wooten, Ms. Thomas sent an email

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 1   to another member of HR, Andrea Seitz, Principal PM for AWS IDE, seeking her help with

 2   the situation. Ms. Seitz and her manager attempted to assist, but to no avail.

 3          100.    April 15, 2021 was to become one of the worst days of Ms. Thomas’s life. Later

 4   on the same day that she was told she was in “Focus,” a young woman who Ms. Thomas raised

 5   as her own daughter for ten years was found dead in the bedroom of her fiancé’s home, with

 6   blood coming from her nose and mouth, her fists clenched and eyes wide open. The family is

 7   still awaiting the results of an autopsy to determine the cause of death, and her service and

 8   homegoing (and preparations for them) took place during the week of April 26 and weekend

 9   of May 1-2, 2021.

10          101.    Ms. Thomas felt as though her world was coming apart.

11          102.    On April 16, 2021, the very next day, despite the horrible pressure she was

12   under and unfathomable tragedy she was facing, Ms. Thomas found the wherewithal to email

13   Ms. Wooten. The Company’s pressure was unrelenting, and so Ms. Thomas had to respond.

14   In a detailed message, she noted to Ms. Wooten that, “As you know as a result of the

15   investigation I have now been placed in FOCUS as of 4/15.”

16          103.    Ms. Thomas was never told why she was placed in Focus, apart from a false

17   claim that she had previously been subject to coaching. This retaliatory, supposed performance

18   improvement measure also was imposed on her without any of the usual lead-up or discussion

19   with the employee that managers, especially in HR, are supposed to engage in before taking

20   that step. In addition, and tellingly, Ms. Thomas has not been told what her performance goals

21   or areas for improvement under Focus supposedly are.

22          104.    Ms. Thomas recognized from the beginning that being placed in Focus was

23   transparent retaliation for her legally protected complaints to Mr. DurJava and Ms. Wooten.

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 1   She also emailed Mr. DurJava about her need for bereavement leave for the death of her

 2   daughter, and he directed her to fill out a “trouble ticket” in order to be cleared to take the leave

 3   from work.

 4           105.    Peers and managers within Amazon were puzzled and appalled Ms. Thomas’s

 5   placement in Focus. Indeed, Ms. Thomas received many messages of support, and several

 6   colleagues have written messages praising her performance and advocating for her to be taken

 7   out of Focus.

 8           106.    One manager remarked to Ms. Thomas that, “You don’t sound like a person

 9   who is underperforming. This all sounds too strange to me.”

10           107.    Furthermore, Ms. Thomas is aware of at least three other Black employees (two

11   women, one man) who have in the past few months been railroaded out of jobs in HR at

12   Amazon. These employees confided in Ms. Thomas, respectively, that they also were placed

13   in Focus without knowing it, had their performance mischaracterized, and/or were subjected

14   to retaliation or reprisals after returning from leave.

15           108.    Even in the wake of Ms. Thomas’s family tragedy, Ms. Wooten sent a

16   gratuitous email on April 21, 2021 that mischaracterized her discussions with Ms. Thomas,

17   including making the ridiculous claim that Ms. Thomas had supposedly denied that she had

18   been subjected to racism or discrimination (despite, in the same email, stating that Ms. Thomas

19   had come to her with complaints of discrimination).

20           109.    If there were any basis at all for Ms. Wooten’s characterizations (a generous

21   assumption), it would appear to be the product of the type of tactical questioning and selective

22   quotation that is all too typical of corporate investigations that are meant to insulate a company

23   from liability rather than to genuinely probe and illuminate an employee’s complaints.

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 1   Needless to say, Ms. Thomas disagrees completely with Ms. Wooten’s depiction of their

 2   discussion in that communication.

 3           110.   On April 22, 2021, Ms. Thomas received a letter from her physician, Dr.

 4   Virginia Morris, to be provided to Amazon, which states in part: “At this time we are requesting

 5   increased breaks during the day, decreased work hours during a panic attack, and increased

 6   flexibility around communication deadlines with team members. We are aware that Ms.

 7   Thomas has been put into FOCUS and are requesting a diverse team of individuals to

 8   participate in support, training, and evaluation during this process.”

 9           111.   Ms. Thomas promptly provided this letter to the Company, yet nothing has been

10   done to alleviate her workload or schedule. Instead, Mr. DurJava has been working hard to

11   burden Ms. Thomas with even more and to ride her with constant demands and scrutiny.

12   Particularly for an HR professional like Mr. DurJava, who knows better, this is undisguised

13   retaliation.

14           112.   Despite this clear warning from her doctor regarding Ms. Thomas’s health and

15   medical accommodation needs, Mr. DurJava has ratcheted up the pressure, seemingly smelling

16   blood and vulnerability. He recently has heaped assignments on Ms. Thomas that require her

17   to work 14-hour days.

18           113.   Indeed, several colleagues have noted that Ms. Thomas’s remit of areas

19   comprised of more than 1500 employees is far too much for one person (the general rule of

20   thumb is that an employee at Ms. Thomas’s level covers around 500 employees). In fact,

21   coworkers have acknowledged to Ms. Thomas (including on communications with Mr.

22   DurJava) that her area of responsibility has been made far too broad and is beyond what could

23   reasonably be expected from one person.

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 1          114.    Mr. DurJava’s retaliation continues through the date of this Complaint. On May

 2   7, 2021, for example, Mr. DurJava sent a blizzard of rapid-fire emails to Ms. Thomas in a

 3   transparent attempt to overwhelm her. He did this despite her April 22, 2021 doctor’s note and

 4   the death of her daughter on April 15, 2021. This is cold-blooded callousness that one would

 5   not expect to see someone visit upon their worst enemy.

 6          115.    Mr. DurJava’s marked, conspicuous shift in approach to quickly try to

 7   manufacture a paper trail after Ms. Thomas said she was seeking legal counsel shows a clear

 8   progression of retaliatory tactics. At times, Mr. DurJava’s actions were so extreme and cruel

 9   that other employees interceded on behalf of Ms. Thomas. Mr. DurJava’s conduct further

10   cements the obvious conclusion that Ms. Thomas is being targeted for retaliation and the

11   Company is working hard to force her out due to her legally protected discrimination

12   complaints.

13          116.    It is particularly glaring that Mr. DurJava’s emails increased in volume in the

14   hours after she declined to take paid administrative leave.

15          117.    On May 6, 2021, Mr. DurJava told Ms. Thomas that he would not meet with

16   her individually going forward, hostilely stating that, “Given the differences in our recollection

17   of our 1:1 meetings, I am going to bring in another member of HR to attend our 1:1s.”

18   Naturally, this supposed “witness” would only serve the purpose of backing up Mr. DurJava’s

19   desired narrative and is yet another example of disparate treatment and retaliation.

20          118.    In an email sent on May 4, 2021, Mr. DurJava listed a project, Ingenii, as

21   needing to be completed by Ms. Thomas by Friday, May 7, 2021. In fact, Ms. Thomas had

22   already completed that task around or at least two weeks before. Again, Mr. DurJava appeared

23   to be casting about for things to use against Ms. Thomas.

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 1          119.    In the same May 4, 2021 email to Ms. Thomas, Mr. DurJava also noted that Ms.

 2   Thomas has expressed concerns that she is “being pushed out of the company,” which he

 3   denied was his goal.

 4          120.    Ms. Thomas’s job role and duties within BeXT also have been curtailed over

 5   the last several weeks from that of a broad HR Business Partner position to one where she is

 6   assigned miscellaneous transactional and tactical assignments.

 7          121.    As one more retaliatory kick in the shins, Ms. Thomas also has stopped

 8   receiving and is no longer included on emails regarding finding speakers for an important

 9   upcoming HR meeting.

10          122.    Amid all of this, in April 2021, Ms. Thomas received a very positive

11   performance review (known within the Company as a “Forte” review), which garnered her a

12   pay increase at a time when it is her understanding many of her colleagues did not receive one.

13   This clashes strongly with Mr. DurJava having placed her in Focus (much less that he did so

14   after barely a few months of working with her, and just a week after her formal transition to

15   BeXT and the Machine Learning (“ML”) Team, and only two weeks after she reported his

16   most serious discriminatory conduct).

17          123.    Among the excellent comments she received in Forte were:

18                 “Pearl’s superpower is consistently being the most positive
                    person in the room even while handling the most emotionally
19                  draining work, e.g. mental health and performance issues. Her
                    team relies on her, and she always delivers. She is very good at
20                  talking to people in difficult circumstances and guiding them to
                    do the next right thing;”
21
                   “I can not (sic) articulate areas for Pearl to grow at this time;”
22                  and

23                 “I honestly believe Pearl already embodies the majority of
                    Amazon leadership principles on an L6+ level, and has
24
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 1                  demonstrated her abilities through challenges such as being the
                    primary person to support employees Mental Health Crisis.
 2                  (something others won’t touch with a ten foot pole or would
                    otherwise not be able to handle the load).”
 3
            124.    Ms. Thomas loves her work in HR, and during her time at Amazon she has
 4
     touched the lives of many employees, including by managing and assisting many employees
 5
     with mental health concerns, some who were having suicidal thoughts. As her colleagues’
 6
     comments show, Ms. Thomas is always ready and willing to work and fight hard for her
 7
     coworkers. She also is prepared to stand up for herself.
 8
                                   FIRST CAUSE OF ACTION
 9                 (Discrimination and Harassment in Violation of Section 1981)
                                      Against All Defendants
10
            125.    Plaintiff hereby repeats, reiterates, and re-alleges each and every allegation in
11
     each of the preceding paragraphs, as though fully set forth herein.
12
            126.    Defendants have discriminated against Plaintiff on the basis of her race, color,
13
     and ethnicity (Black) in violation of Section 1981 by denying her the same terms and
14
     conditions of employment available to non-Black employees, including, but not limited to,
15
     subjecting her to disparate working conditions, denying her terms and conditions of
16
     employment equal to that of her co-workers who do not belong to the same protected
17
     categories, and denying her the opportunity to work in an employment setting free of unlawful
18
     discrimination.
19
            127.    Defendants also have discriminated against Plaintiff on the basis of her race and
20
     ethnicity in violation of Section 1981 by fostering, condoning, accepting, ratifying, and/or
21
     otherwise failing to prevent or to remedy a hostile work environment that has included, among
22
     other things, severe and pervasive discrimination.
23

24
      COMPLAINT  24                                                   WIGDO R LLP
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 1          128.    As a direct and proximate result of Defendants’ unlawful discriminatory

 2   conduct and harassment in violation of Section 1981, Plaintiff has suffered, and continues to

 3   suffer, mental anguish and emotional distress, including but not limited to, depression,

 4   humiliation, embarrassment, stress and anxiety, loss of self-esteem and self-confidence, and

 5   emotional pain and suffering, as well as physical injury, for which she is entitled to an award

 6   of damages and other relief.

 7          129.    Defendants’ unlawful and discriminatory actions constitute malicious, willful,

 8   and wanton violations of Section 1981, for which Plaintiff is entitled to an award of punitive

 9   damages.

10                                SECOND CAUSE OF ACTION
                              (Retaliation in Violation of Section 1981)
11                                      Against All Defendants

12          130.    Plaintiff hereby repeats, reiterates, and re-alleges each and every allegation in

13   each of the preceding paragraphs, as though fully set forth herein.

14          131.    Defendants retaliated against Plaintiff by, inter alia, unreasonably increasing

15   her workload and placing her on a performance improvement plan which affected the terms

16   and conditions of her employment, including her eligibility for transfer and promotion, because

17   of her engagement in activities protected under Section 1981.

18          132.    As a direct and proximate result of Defendants’ unlawful retaliatory conduct in

19   violation of Section 1981, Plaintiff has suffered, and continues to suffer, monetary and/or

20   economic harm, for which she is entitled to an award of damages.

21          133.    As a direct and proximate result of Defendants’ unlawful retaliatory conduct in

22   violation of Section 1981, Plaintiff has suffered, and continues to suffer, mental anguish and

23   emotional distress, including but not limited to, depression, humiliation, embarrassment, stress

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 1   and anxiety, loss of self-esteem and self-confidence, and emotional pain and suffering, as well

 2   as physical injury, for which she is entitled to an award of damages and other relief.

 3           134.    Defendants’ unlawful and retaliatory actions constitute malicious, willful, and

 4   wanton violations of Section 1981, for which Plaintiff is entitled to an award of punitive

 5   damages.

 6                                THIRD CAUSE OF ACTION
             (Discrimination and Harassment in Violation of Washington Law Against
 7                                      Discrimination)
                                     Against All Defendants
 8
             135.    Plaintiff hereby repeats, reiterates, and re-alleges each and every allegation in
 9
     each of the preceding paragraphs, as though fully set forth herein.
10
             136.    Defendants have discriminated against Plaintiff on the basis of her race and
11
     color (Black) and sex/gender (female) in violation of the Washington Law Against
12
     Discrimination, Wash. Rev. Code §§ 49.60.010, et seq., by, inter alia, denying her the right to
13
     obtain and hold employment without discrimination.
14
             137.    As a direct and proximate result of Defendants’ unlawful discriminatory
15
     conduct in violation of the WLAD, Plaintiff has suffered, and continues to suffer, monetary
16
     and/or economic harm, for which she is entitled to an award of damages.
17
             138.    As a direct and proximate result of Defendants’ unlawful discriminatory
18
     conduct in violation of the WLAD, Plaintiff has suffered, and continues to suffer, mental
19
     anguish and emotional distress, including but not limited to, depression, humiliation,
20
     embarrassment, stress and anxiety, loss of self-esteem and self-confidence, and emotional pain
21
     and suffering, as well as physical injury, for which she is entitled to an award of damages and
22
     other relief.
23

24
      COMPLAINT  26                                                    WIGDO R LLP
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 1                                  FOURTH CAUSE OF ACTION
                 (Retaliation in Violation of Washington Law Against Discrimination)
 2                                       Against All Defendants

 3          139.     Plaintiff hereby repeats, reiterates, and re-alleges each and every allegation in

 4   each of the preceding paragraphs, as though fully set forth herein.

 5          140.     Defendants retaliated against Plaintiff by, inter alia, unreasonably increasing

 6   her workload and placing her on a performance improvement plan which affected the terms

 7   and conditions of her employment, including her eligibility for transfer and promotion, because

 8   of her engagement in activities protected under the Washington Law Against Discrimination.

 9   Wash. Rev. Code §§ 49.60.010, et seq.

10          141.     As a direct and proximate result of Defendants’ unlawful discriminatory

11   retaliation in violation of the WLAD, Plaintiff has suffered, and continues to suffer, monetary

12   and/or economic harm, for which she is entitled to an award of damages.

13          142.     As a direct and proximate result of Defendants’ unlawful retaliatory conduct in

14   violation of the WLAD, Plaintiff has suffered, and continues to suffer, mental anguish and

15   emotional distress, including but not limited to, depression, humiliation, embarrassment, stress

16   and anxiety, loss of self-esteem and self-confidence, and emotional pain and suffering, as well

17   as physical injury, for which she is entitled to an award of damages and other relief.

18                                      PRAYER FOR RELIEF

19          WHEREFORE, Plaintiff prays that the Court enter judgment in her favor and against

20   Defendants for the following relief:

21          A.       A declaratory judgment that the actions, conduct, and practices of Defendants

22   complained of herein violate the laws of the United States and State of Washington;

23

24
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 1           B.     An award of damages against Defendants, in an amount to be determined at

 2   trial, plus interest, to compensate Plaintiff for all monetary and/or economic damages;

 3           C.     An award of damages against Defendants, in an amount to be determined at

 4   trial, plus interest, to compensate for all monetary and/or compensatory damages, including,

 5   but not limited to, compensation for Plaintiff’s emotional distress and physical injuries and

 6   harm;

 7           D.     An award of liquidated damages equal to the amount of Plaintiff’s past and

 8   future lost wages;

 9           E.     An award of punitive damages in an amount to be determined at trial;

10           F.     Prejudgment interest on all amounts due;

11           G.     Post-judgment interest as may be allowed by law;

12           H.     An award of Plaintiff’s reasonable attorneys’ fees and costs; and

13           I.     Such other and further relief as the Court may deem just and proper and to

14   which Plaintiff may be entitled under law.

15

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      COMPLAINT  28                                                  WIGDO R LLP
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 1                                        JURY DEMAND

 2          Plaintiff hereby demand a trial by jury on all issues of fact and damages stated herein.

 3
            Dated: May 19, 2021
 4                                                Respectfully submitted,

 5                                                WIGDOR LLP

 6
                                                  Lawrence M. Pearson
 7                                                Jeanne M. Christensen
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